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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re:
                                                                Case No. 18-24070-GLT
  OneJet, Inc.                                                Judge Gregory L. Taddonio
                          Debtor
                                                                       Chapter 7
  Woody Partners, et al.,

                          Plaintiffs,                          Related to Doc. No. 331
  v.

  Matthew R. Maguire, Patrick Maguire,
  Boustead Securities, LLC, Melvin Pirchesky,
  Robert Campbell, Robert Lewis and David
  Minnotte,
                                                           Adv. Proc. No.: 19-02134-GLT
                          Defendants.


           CONSENT OF ESTATE OF PATRICK J. MAGUIRE TO PLAINTIFFS’
            MOTION TO SUBSTITUTE PARTY DEFENDANT PURSUANT TO
               FEDERAL RULE OF BANKRUPTCY PROCEDURE 7025

        NOW COMES Jean A. Rieke, Special Administrator of the Estate of Patrick J. Maguire,

 by and through her counsel, Post & Schell, P.C., and hereby consents to Plaintiffs’ Motion to

 Substitute Party Defendant Pursuant to Federal Rule of Bankruptcy Procedure 7025.


                                               Respectfully Submitted,

                                               POST & SCHELL, P.C.


                                               BY: Brian W. Bisignani
                                                  Brian W. Bisignani, Esquire
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                                                                 and


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                                      Counsel for: Jean A. Rieke, Special Administrator
                                      for the Estate of Patrick J. Maguire




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